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  Attorney for Plaintiffs

                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   Venice PI, LLC,                          )   Case No.: 1:19-cv-169-LEK-KJM
   MON LLC,                                 )   (Copyright)
   Millennium Funding, Inc.,                )
   Bodyguard Productions, Inc.,             )   FIRST AMENDED COMPLAINT;
   TBV Productions, LLC,                    )   EXHIBITS 1-3; DECLARATIONS
   UN4 Productions, Inc., and               )   OF ERIC SMITH, MICHAEL
   Hunter Killer Productions, Inc.          )   NOLASCO, BRENT BALDWIN
                                            )   AND TIME TRAVIS LAAPUI
                       Plaintiffs,          )
       vs.                                  )   (1) CONTRIBUTORY
                                            )       COPYRIGHT
   NGUYEN DINH MANH,                        )       INFRINGEMENT
   TECHMODO LTD, AND                        )   (2) INTENTIONAL
   SENTHIL VIJAY SEGARAN                    )       INDUCEMENT
                                            )   (3) DIRECT COPYRIGHT
                                            )       INFRINGEMENT
                       Defendants.          )
                                            )
                                            )

                            FIRST AMENDED COMPLAINT

            Plaintiffs Venice PI, LLC, MON LLC, Millennium Funding, Inc., Bodyguard

  Productions, Inc., TBV Productions, LLC, UN4 Productions, Inc., and Hunter Killer



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  Productions, Inc., (collectively “Plaintiffs”) file this First Amended Complaint

  against Defendants Nguyen Dinh Manh (previously identified as DOE 1), Techmodo

  Limited (previously DOE 2) and Senthil Vijay Segaran (previously DOE 2)

  (collectively “Defendants”), and allege as follows:

                            I.    NATURE OF THE ACTION

            1.    Plaintiffs bring this action under the United States Copyright Act of

  1976, as amended, 17 U.S.C. §§ 101, et seq. (the Copyright Act”) and allege that

  Defendants are liable for inducement, and direct and contributory copyright

  infringement in violation of 17 U.S.C. §§ 106 and 501.

                           II.   JURISDICTION AND VENUE

            2.    This Court has subject matter jurisdiction over this action pursuant to

  17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question),

  and 28 U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

            4.    Defendants solicit, transact, or are doing business within this

  jurisdiction, and have committed unlawful and tortious acts both within and outside

  this jurisdiction with the full knowledge that their acts would cause injury in this

  jurisdiction.

            5.    Defendants cause harm to Plaintiffs’ business within this District by

  diverting customers in this District to unauthorized Internet-based content

  distribution services through, at least, the websites yifymovies.is, yts.lt and yts.ag.

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            6.    Defendants have designed their interactive websites to individually

  target Hawaii users based upon their personal information such as web browsing

  history.

            7.    Upon information and belief, Defendants collect log files including the

  Internet Protocol (“IP”) address, Internet Service Provider (“ISP”) and browser type

  of each user who visits their websites.

            8.    Upon information and belief, Defendants use cookies and web beacons

  to store information such as personal preferences of users who visit their websites.

            9.    Upon information and belief, Defendants obtain financial benefit from

  their users in Hawaii via third party advertisements such as Google through the

  Google AdSense program.

            10.   Upon information and belief, Defendants use the cookies, log files

  and/or web beacons to narrowly tailor the website viewing experience to the

  geolocation of the user. Particularly, users in Hawaii receive advertisements based

  upon their location and websites they have previously visited.

            11.   In the alternative, the Court has jurisdiction pursuant to Fed. R. Civ. P.

  4(k)(2), the so-called federal long-arm statute, for at least the following reasons: (1)

  Plaintiffs’ claims arise under federal law; (2) the Defendants purposely directed their

  electronic activity into the United States and target and attract a substantial number

  of users in the United States and, more particularly, this District; (3) Defendants do

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  so with the manifest intent of engaging in business or other interactions with the

  United State; (4) the Defendants are not subject to jurisdiction in any state’s courts

  of general jurisdiction; and (5) exercising jurisdiction is consistent with the United

  States Constitution and laws.

            12.   Defendants use many United States based sources for their activities

  such as the Internet hosting and nameserver company Cloudflare, Inc.

            13.   Defendants consented to jurisdiction in the United States per

  Cloudflare’s terms of service.

            14.   Defendants promote overwhelmingly if not exclusively motion pictures

  produced by United States companies on their websites.

            15.   Defendant Nguyen Dinh Manh (“Nguyen”) used the United States

  Internet hosting provider Choopa, LLC for hosting services of the YIFY website.

            16.   Defendant Nugyen used the United States provider Paypal to receive

  payments from advertising funds received as a result of clicks to advertisements on

  his interactive YIFY website.

            17.   Defendant Nguyan used the United States email provider Google to

  operate his interactive YIFY website.

            18.   Defendant Nguyen used the United States registrar Namecheap to

  register his domain yifymovies.is, and thereby consented to jurisdiction in the United

  States per Namecheap’s terms of service.

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            19.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

  because: (a) all or a substantial part of the events or omissions giving rise to the

  claims occurred in this District; and (c)(3) any of the Defendants not a resident of

  the United States may be sued in this District.

                                       III.     PARTIES

                                      A. The Plaintiffs
            20.    The Plaintiffs are owners of the copyrights for the motion pictures

  (hereafter: “Works”), respectively, as shown in Exhibit “1” and listed below.

                     OWNER                MOTION PICTURE               Copyright
                                                                       Certificate
                                                                        Number
                                              Once Upon a Time in      PA2039391
                  Venice PI, LLC
                                                    Venice
                                                  Singularity          PAu3848900
                    MON LLC
                                         Mechanic: Resurrection        PA1998057
              Millennium Funding,
                      Inc.
                                                 The Hitman’s          PAu3844508
             Bodyguard Productions,
                                                  Bodyguard
                     Inc.
                                                 I Feel Pretty         Pau3896491
             TBV Productions, LLC
                                               Boyka: Undisputed      PA0002000772
              UN4 Productions, Inc.
                                                 Hunter Killer         PA2136168
                   Hunter Killer
                  Productions, Inc.



                                        B. The Defendants

            21.    Defendant Nguyen is a resident of Vietnam.

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            22.   Defendant Nguyen operated an interactive website http://yifymovies.is

  (hereafter: “YIFY Website”) until about May 23, 2019.

            23.   The YIFY website included a library of copyright protected motion

  pictures, including Plaintiffs’, that could be streamed by users for free.

            24.   Defendant Nguyen stated on the YIFY website, “Welcome to the

  official YIFY website. Here you will be able to browse and watch YIFY Movies

  online for free in excellent BluRay quality with the English subtitle.”




            25.   Defendant Nguyen operated many other piracy websites such as

  gomoviesfree.is, fmoviesfree.is, watchasap.is, yesmovies.to, 9movies.is and

  123movies.is which provided similar streaming services of copyright protected

  motion pictures.

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            26.   Defendant Nguyen’s websites 123movies.is and fmoviesfree.is were

  noted by the Office of the United States Trade Representative (“USTR”) as

  examples of Notorious Markets defined as an online marketplace reportedly

  engaged in and facilitating substantial piracy. See USTR, 2018 Out-of-Cycle Review

  of    Notorious     Markets,     April   2019,   pgs.   2,   4,   18,   Available   at

  https://ustr.gov/sites/default/files/2018_Notorious_Markets_List.pdf [accessed on

  June 13, 2019].

            27.   Defendant Techmodo Limited (“Techmodo”) is a private limited

  company incorporated under the laws of England and Wales.

            28.   Defendant Senthil Vijay Segaran (“Segaran”) is an individual residing

  in England and is the sole shareholder in Techmodo.

            29.   Defendants Techmodo and Segaran operate and/or exercise control

  over an interactive website www.yts.lt (hereafter: “YTS website”) which includes

  a library of torrent files for copyright protected motion pictures, including

  Plaintiffs’. The torrent files can be used by a BitTorrent client application to

  download motion pictures for free. Upon information and belief, Defendants

  Techmodo and Segaran previously operated the websites yts.gg, yts.am and yts.ag,

  which now redirects to yts.lt.




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            30.   Defendants Techmodo and Segaran state on the YTS website, “Here

  you will be able to browse and download YIFY movies in excellent 720p, 1080p

  and 3D quality…”




            31.   Defendants Techmodo and Segaran begin redirecting the YTS website

  to the domain yts.lt on or about June 3, 2019 in response to the present litigation.

            32.   Upon information and belief, Defendants Techmodo and Segaran

  operate and/or exercise control over many other movie piracy websites such as

  piratetorrents.net, limetorrents.cc, yourbittorrent.com, rarbg.to, torrentbutler.eu,

  piratetorrents.net, thepiratebay.se.net, torrentz.eu, 1337x.to and extratorrent.cc

  which provided similar torrent files for distributing copyright protected motion

  pictures.




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            33.   Defendant Techmodo’s websites rarbg.to and thepiratebay.se.net were

  noted by the USTR as example of a Notorious Market. See USTR supra at pgs. 24,

  27.

                                      IV.    JOINDER

            34.   Pursuant to Fed. R. Civ. P. 20(a)(1), each of the Plaintiffs are properly

  joined because, as set forth in detail above and below, the Plaintiffs assert: (a) a right

  to relief arising out of the same transaction, occurrence, or series or transactions,

  namely the distribution of and use of YIFY and YTS websites for streaming and

  distributing Plaintiffs’ Works; and (b) that there are common questions of law and

  fact.

            35.   Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

  properly joined because, as set forth in more detail below, the Plaintiffs assert: (a) a

  right to relief arising out of the same transaction, occurrence, or series or

  transactions, namely the distribution of Plaintiffs’ Works via the YIFY and YTS

  websites of Defendants; and (b) there are common questions of law and fact.

                            V.     FACTUAL BACKGROUND
            A. The Plaintiffs Own the Copyrights to the Works

            36.   The Plaintiffs are the owners of the copyright in the Works,

  respectively. The Works are the subjects of copyright registrations, and this action

  is brought pursuant to 17 U.S.C. § 411. See Exhibit “1”.

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           37.   Each of the Works are motion pictures currently offered for sale in

 commerce.

           38.   Defendants had notice of Plaintiffs’ rights through at least the credits

 indicated in the content of the motion pictures which bore proper copyright notices.

           39.   Defendants also had notice of Plaintiffs’ rights through general

 publication and advertising associated with the motion picture, and packaging and

 copies, each of which bore a proper copyright notice.

           B. The YIFY and YTS websites

           40.   Upon information and belief, the name YIFY mentioned in the YIFY

 website and the YTS website is derived from the name Yiftach Swery, the founder

 of YIFY Torrent Solutions.

           41.   Upon information and belief, the name YTS mentioned in the YTS

 website is an abbreviation of YIFY Torrent Solutions.

           42.   Upon information and belief, the YIFY website is streaming motion

 pictures from at least torrent sources of the YTS library.

           43.   Upon information and belief, both YIFY and YTS are operating in

 concert. Both the YIFY and YTS websites include what appears to be the same

 trademark – namely a green semi-circle with three large full circles and one small

 full circle therein akin to a traditional movie reel with film extending therefrom.



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           44.   The YIFY website of Defendant Nguyen allowed users to stream

 Plaintiffs’ Works.

           45.   Defendant Nguyen does not have a license from Plaintiffs to publicly

 perform or stream copies of Plaintiffs’ Works.

           46.   Upon information and belief, the YIFY website of Defendant Nguyen

 is using source repositories (including those associated with Defendants Techmodo

 and Segaran) to allow users to stream copyright protected content, including

 Plaintiffs’ Works.

           47.   Upon information and belief, the YTS website of Defendants

 Techmodo and Segaran is providing torrent files, many including the name “YTS”

 in their file names, that can be used by a BitTorrent protocol client application

 protocol to download copyright protected content, including Plaintiffs’ Works from

 Torrent sites.      Exhibit “2” (Mechanic Resurrection (2016) [YTS.AG] and

 Singularity (2017) [YTS.AG]).

           48.   Upon information and belief, Defendants Techmodo and Segaran use

 a process referred to as “ripping” to create a copy of motion pictures from either

 Blu-ray or legal streaming services.
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           49.   Defendants Techmodo and Segaran sometimes includes words such as

 “YTS” in the titles of the torrent files they create in order to enhance their reputation

 for the quality of his torrent files and attract users to their interactive YTS website.

           50.   Torrent sites are websites that index torrent files that are currently

 being made available for copying and distribution by people using the BitTorrent

 protocol. When a user of Defendants Techmodo and Segaran’s YTS website select

 a motion picture, the user receives a torrent file associated with that motion picture.

 The user can use a BitTorrent protocol client application to run the torrent file to

 download a copy of the motion picture.

           51.   Defendants Techmodo and Segaran do not have a license from

 Plaintiffs to copy, publicly perform or distribute copies of Plaintiffs’ Works.

           52.   Users of the websites of Defendants use the websites for their intended

 and unquestionably infringing purposes, most notably to obtain immediate,

 unrestricted, and unauthorized access to unauthorized copies of Plaintiffs’

 Copyrighted Works.

           53.   Defendants promote their websites for overwhelmingly, if not

 exclusively, infringing purposes, and that is how the users use the websites.

           54.   The commercial value of Defendants’ websites depends on high-

 volume use of unauthorized content through the website. Defendants promise their

 users reliable and convenient access to all the content they can watch and users visit

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 the websites based on Defendants’ apparent success in delivering infringing content

 to their customers.

           55.   Defendant Nguyen streamed copies of the motion picture Once Upon

 A Time In Venice via the YIFY website.




           56.
           57.   Defendant Nguyen streamed copies of the motion picture Mechanic:

 Resurrection via the YIFY website.




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           58.
           59.   Defendant Nguyen streamed copies of the motion picture I Feel Pretty

 via the YIFY website.




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           60.
           61.   Defendant Nugyen streamed copies of the motion picture Hunter Killer

 via the YIFY website.




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           62.
           63.   Plaintiffs’ agents monitored the Internet traffic associated with the

 YIFY website while streaming the motion pictures and recorded the IP addresses

 which are likely the sources of the content. Exhibit “3”.

           64.   One of the IP addresses (169.54.206.44) shown in Exhibit “3” is

 controlled by the US Company Zeta Global, Inc., which operates an Internet

 comment platform called “Disqus”.

           65.   Defendant Nguyen hid links for streaming Plaintiffs’ motion pictures


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 in comments in the Disqus comment platform provided by the US company Zeta

 Global.

           66.   Michael Nolasco, a resident of Hawaii, used the YTS website of

 Defendants Techmodo and Segaran to copy and share multiple copies of the motion

 picture The Hitman’s Bodyguard on Sept. 3, 2017 to Sept. 27, 2017 at IP address

 72.234.162.87. See Decl. of Nolasco at ¶7.

           67.   Michael Nolasco used the YTS website to copy the motion picture

 Once Upon a Time in Venice on November 19, 2017 at IP address 72.234.162.87.

           68.   Michael Nolasco used the YTS website to copy the motion picture

 Mechanic: Resurrection on December 24, 2017 at IP address 72.234.162.87. See

 Id. at ¶5.

           69.   Michael Nolasco used the YTS website to copy the motion picture

 Singularity on February 13, 2018 at IP address 72.234.162.87. See Id. at ¶6.

           70.   Michael Nolasco used the YIFY website of Defendant Nguyen to

 stream at least a portion of the motion picture Hitman’s Bodyguard sometime in or

 after 2017. See Id. at ¶8.

           71.   Brent Baldwin, a resident of Hawaii, used the YTS website of

 Defendants Techmodo and Segaran to copy a portion of the motion picture The

 Hitman’s Bodyguard on Nov. 2, 2017 at IP address 174.239.5.113. See Decl. of

 Baldwin at ¶9.

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           72.    Brent Baldwin used the YTS website to copy a portion of the motion

 picture Once Upon a Time in Venice on Feb. 11, 2018 at IP address 174.239.5.113.

 See Id. at ¶8.

           73.    Brent Baldwin used the YIFY website of Defendant Nguyen to stream

 copies of the motion pictures Singularity and Mechanic: Resurrection in 2017. See

 Id. at ¶¶3, 7.

           74.    Brent Baldwin and Michael Nolasco were motivated to infringe

 Plaintiffs’ Works from the promotional language of Defendants’ YIFY and YTS

 websites.

           75.    Brent Baldwin and Michael Nolasco used Defendants’ YIFY and YTS

 websites exactly as instructed by Defendants to infringe the Works.


                            VI. FIRST CLAIM FOR RELIEF
                                   (Intentional Inducement)

           76.    Plaintiffs re-allege and incorporate by reference the allegations

 contained in each of the foregoing paragraphs.

           77.    Plaintiffs are the copyright owners of the Works which each contains

 an original work of authorship.

           78.    Defendants have actual knowledge of third parties’ infringement of

 Plaintiffs’ exclusive rights under the Copyright Act.

           79.    Defendants intentionally induced the infringement of Plaintiffs’

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 exclusive rights under the Copyright Act, including infringement of Plaintiffs’

 exclusive right to publicly perform and distribute copies of Copyrighted Works.

           80.   As intended and encouraged by Defendant Nguyen, the YIFY website

 connects users to sources and/or sites that publicly perform copies of Plaintiffs’

 Copyrighted Works. The operators of these sources directly infringe Plaintiffs’

 exclusive rights by providing unauthorized public performances of the works to the

 public, including to users of Defendant Nugyen’s website.

           81.   These operators, or others operating in concert with them, control the

 facilities and equipment used to store and distribute the content, and they actively

 and directly cause the content to be performed when users click on a link for the

 content on the YIFY website of Defendant Nguyen.

           82.   As intended and encouraged by Defendants Techmodo and Segaran,

 the YTS website provides torrent files that connect users to Torrent sources and/or

 sites that deliver copies of Plaintiffs’ Copyrighted Works. The operators of these

 Torrent sources directly infringe Plaintiffs’ exclusive rights by providing

 unauthorized copies of the works to the public, including to users of Defendants

 Techmodo and Segaran’s website.

           83.   Once the user of Defendants Techmodo and Segaran’s website has

 obtained a complete copy of the Plaintiffs’ Copyrighted Works, that particular user

 also becomes another Torrent source that delivers copies of Plaintiffs’ Copyrighted

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 Works.

           84.   Defendants Techmodo and Segaran induce the aforementioned acts of

 infringement by supplying the torrent files that facilitate, enable, and create direct

 links between their users and the infringing Torrent sources, and by actively

 inducing, encouraging and promoting the use of the website for blatant copyright

 infringement.

           85.   Defendants Techmodo and Segaran’s intentional inducement of the

 infringement of Plaintiffs’ rights in each of their Copyrighted Works constitutes a

 separate and distinct act of infringement.

           86.   Defendants’ inducement of the infringement of Plaintiffs’ Copyrighted

 Works is willful, intentional, and purposeful, and in disregard of and with

 indifference to the rights of the Plaintiffs.

           87.   Defendants’ actions are a direct and proximate cause of the

 infringements of Plaintiffs’ Works.

                            VII. SECOND CLAIM FOR RELIEF
                  (Contributory Copyright Infringement based upon Material
                                       Contribution)

           88.   Plaintiffs re-allege and incorporate by reference the allegations

 contained in each of the foregoing paragraphs.

           89.   Defendants have actual or constructive knowledge of infringement of

 Plaintiffs’ exclusive rights under the Copyright Act. Defendants knowingly and

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 materially contribute to such infringing activity.

           90.   Defendant Nguyen knowingly and materially contributes to the

 infringement of Plaintiffs’ exclusive rights under the Copyright Act, including

 infringement of Plaintiffs’ exclusive right to publicly perform their works.

 Defendant Nguyen designs and promotes the use of the YIFY website to connect

 customers to unauthorized online sources that stream copies of Plaintiffs’

 Copyrighted Works. The operators of these source repositories directly infringe

 Plaintiffs’ public performance rights by providing copies of the works to the public,

 including to users of the YIFY website. The operators, or others operating in concert

 with them, control the facilities and equipment used to store and deliver copies of

 the content, and they actively and directly cause the content to be streamed when

 users click on a link of the YIFY website for the content.

           91.   Defendant Nguyen knowingly and materially contributes to the

 aforementioned acts of infringement by supplying the YIFY website that facilitates,

 encourages, enables, and creates direct links between website users and infringing

 operators of the streaming services, and by actively encouraging, promoting, and

 contributing to the use of the website for blatant copyright infringement.

           92.   Defendants Techmodo and Segaran knowingly and materially

 contribute to the infringement of Plaintiffs’ exclusive rights under the Copyright Act,

 including infringement of Plaintiffs’ exclusive right to distribute their works.

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 Defendants Techmodo and Segaran design and promote the use of the YTS website

 to provide torrent files that connect customers to unauthorized online torrent sources

 to download copies of Plaintiffs’ Copyrighted Works. The operators of these torrent

 sources directly infringe Plaintiffs’ distribution rights by providing copies of the

 Works to the public, including to YTS website users. The operators, or others

 operating in concert with them, control the facilities and equipment used to store and

 deliver copies of the the content, and they actively and directly cause the content to

 be distributed when users run the torrent file obtained from the YTS website.

           93.   Defendants knowingly and materially contributes to the aforementioned

 acts of infringement by supplying the website that facilitates, encourages, enables,

 and creates direct links between website users and infringing operators of the

 streaming and Torrent services, and by actively encouraging, promoting, and

 contributing to the use of the website for blatant copyright infringement.

           94.   Defendants’ knowing and material contribution to the infringement of

 Plaintiffs’ rights in each of their Copyrighted Works constitutes a separate and

 distinct act of infringement.

           95.   Defendants’ knowing and material contribution to the infringement of

 Plaintiffs’ Copyrighted Works is willful, intentional, and purposeful, and in disregard

 of and with indifference to the rights of Plaintiffs.

           96.   As a direct and proximate result of the infringement to which

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 Defendants knowingly and materially contributes, Plaintiffs are entitled to damages

 and Defendants’ profits in amounts to be proven at trial.

           97.     Defendants obtained a direct financial interest, financial advantage,

 and/or economic consideration from the infringements in Hawaii as a result of their

 infringing actions in the United States.

           98.     Defendants’ actions are a direct and proximate cause of the

 infringements of Plaintiffs’ Works.

                               VIII. THIRD CLAIM FOR RELIEF
                 (Direct Copyright Infringement against Defendants Techmodo and
                                            Segaran)

           99.     Plaintiffs re-allege and incorporate by reference the allegations

 contained in each of the foregoing paragraphs.

           100. Plaintiffs are the copyright owners of the Works which each contains

 an original work of authorship.

           101. Defendants Techmodo and Segaran copied the constituent elements of

 the registered Works of Plaintiffs and created torrent files for distributing the

 Works.

           102. As a result of the foregoing, Defendants Techmodo and Segaran

 violated the Plaintiff’s exclusive right to: (A) Reproduce the Work in copies, in

 violation of 17 U.S.C. §§ 106(1) and 501.

           103. Each of the Defendants Techmodo and Segaran’s infringements was

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 committed “willfully” within the meaning of 17 U.S.C. § 504(c)(2).

           104. By engaging in the infringement alleged in this First Amended

 Complaint, the Defendants deprived not only the producer of the Works from

 income that could have been derived when these films were shown in public theaters

 and offered for sale or rental, but also all persons involved in the production and

 marketing of this film, numerous owners of local theaters and retail outlets in

 Hawai’i and their employees, and, ultimately, the local economy. The Defendants’

 misconduct therefore offends public policy.

           105. The Plaintiffs have suffered damages that were proximately caused by

 each of the Defendants’ copyright infringements including, but not limited to lost

 sales, price erosion, and a diminution of the value of its copyright.

                                 PRAYER FOR RELIEF

           WHEREFORE, the Plaintiffs respectfully requests that this Court:

           (A) enter temporary, preliminary and permanent injunctions enjoining each

 Defendant from continuing to contribute to infringement of the Plaintiffs’

 copyrighted Works;

           (B) Entry of an Order pursuant to 17 U.S.C. §512(j) and/or 28 U.S.C §1651(a)

 that, Cloudflare and any other service provider cease providing service for the

 websites: (i) yifymovies.is; (ii) yts.ag; and (iii) yts.lt immediately cease said service;

           (C) that, upon Plaintiffs’ request, those in privity with Defendants and those

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 with notice of the injunction, including any Internet search engines, Web hosts,

 domain-name registrars, and domain name registries and/or their administrators that

 are provided with notice of the injunction, cease facilitating access to any or all

 domain names and websites through which Defendants engage in the

 aforementioned infringements;

           (D) award the Plaintiffs’ actual damages and Defendants’ profits in such

 amount as may be found; alternatively, at Plaintiffs’ election, for maximum statutory

 damages per Work pursuant to 17 U.S.C. § 504-(a) and (c);

           (E) award the Plaintiffs their reasonable attorneys’ fees and costs pursuant to

 17 U.S.C. § 505; and

           (F) grant the Plaintiffs any and all other and further relief that this Court deems

 just and proper.

           The Plaintiffs hereby demand a trial by jury on all issues properly triable by

 jury.

           DATED: Kailua-Kona, Hawaii, October 24, 2019.


                                      CULPEPPER IP, LLLC


                                      /s/ Kerry S. Culpepper
                                      Kerry S. Culpepper

                                      Attorney for Plaintiffs


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